

Matter of Maragani (2022 NY Slip Op 01092)





Matter of Maragani


2022 NY Slip Op 01092


Decided on February 17, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:February 17, 2022

PM-30-22
[*1]In the Matter of Goud Pradyumna Maragani, an Attorney. (Attorney Registration No. 4221636.)

Calendar Date:February 14, 2022

Before:Egan Jr., J.P., Lynch, Clark, Aarons and Colangelo, JJ.

Goud Pradyumna Maragani, Riverton, Utah, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Goud Pradyumna Maragani was admitted to practice by this Court in 2004 and lists a business address in South Jordan, Utah with the Office of Court Administration. Maragani now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Maragani's application.
Upon reading Maragani's affidavit sworn to August 14, 2021 and filed January 24, 2022, and upon reading the February 7, 2022 correspondence in response by the Chief Attorney for AGC, and having determined that Maragani is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Egan Jr., J.P., Lynch, Clark, Aarons and Colangelo, JJ., concur.
ORDERED that Goud Pradyumna Maragani's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Goud Pradyumna Maragani's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Goud Pradyumna Maragani is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Maragani is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Goud Pradyumna Maragani shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








